                 MATERIALS SELECTION POLICY

1. The Garland County Library subscribes to the materials selection
   principles contained in the Library Bill of Rights adopted by the American
   Library Association in 1948 and amended in 1961, 1967, 1980, and 2019
   (attached). A keen awareness has developed concerning the necessity of
   careful evaluation and selection of materials.

2. It is the function of the Library to provide materials for all ages, from
   preschool through maturity. As many subject fields as possible are
   provided with the only limitation being those of budget and of human
   understanding.

3. The responsibility for selection of library materials is delegated to the
   Director and under his/her direction to those staff who are qualified by
   their education, training, and experience.

4. Budgetary constraints dictate that the Library acquire only a limited
   number of the thousands of titles published each year; therefore,
   materials are carefully selected. Selection is based upon principle rather
   than personal opinion, reason rather than prejudice, and judgment rather
   than censorship.

5. Priorities for selection are: (a) materials to meet information needs, both
   expressed and anticipated, of patrons of all ages; (b) materials to meet
   the continuing education needs of out-of-school adults and for the
   enrichment of the formal education needs of children and young adults;
   (c) materials to meet the recreational needs of all ages.

6. The aim in selecting adult materials is to make available books and other
   materials that will meet the educational, informational, cultural, and
   recreational interests and needs of the people of the county. To fulfill this
   aim, the Library endeavors to maintain a carefully selected collection of
   representative books and other materials of permanent value and of
   current interest. Materials are selected from many sources and are
   chosen with the following in mind: the interests of the community, the
   reading tastes of and education levels of the borrowers, the need for items
   in the Library, and the reviews found in professional reviewing media.

7. Children’s materials are selected to provide pleasurable reading for the
   sake of reading and to provide information in fields of knowledge which of
   interest to children. Materials are carefully selected so that children of all
   ages and abilities are served and so that the collections will stimulate
   imagination, mental growth, and intellectual development. Children’s and




                                                                     WEBB 00001
   young people’s titles, almost without exception, are also reviewed, read,
   or examined before purchase.

8. Young adult materials are selected to help teenagers to realize
   self-actualization and to live useful, well-adjusted lives in the community
   and to help them know and understand the world at large.

9. Anyone is free to personally reject materials of which he or she does not
   approve; however, the choice of library materials for personal use is an
   individual matter. No one has the right to exercise censorship to restrict
   the freedom of use and/or access of others.               Any request for
   reconsideration of an item in the collection must follow the procedure
   outlined in the Library’s policy, “Reconsideration of Materials.”

10. In general, books and other materials are excluded from the collections for
    one or more of the following reasons:

      A. The work has an inadequate characterization, plot, literary style, or
         atmosphere;

      B. The work has inaccurate information;

      C. The work shows an obvious lack of integrity;

      D. The work is overly sentimental in its presentation and content;

      E. The work depicts sensationalism;

      F.   The work is produced to incite hatred and intolerance;

      G. The work presents an individual or group in a prejudicial manner;

      H. The work presents only one side of a controversial question, and it
         is written in a violent, sensational, inflammatory manner; or the title
         contains false or undocumented statements. However, it is the
         Library’s responsibility to provide materials which will enable
         patrons to form an opinion; therefore, the Library will provide
         materials representing several points of view;

      I.   The title is written or produced by an unknown author, privately
           printed or fabricated, or issued by obscure publishers. Also, titles
           may be excluded if no review can be found in a national
           publication. An exception is made in the case of local materials
           and subjects on which no other material is available;




                                                                    WEBB 00002
       J.   The work is of a religious nature not of general interest;

       K. The work is of a professional nature such as law, medicine, or
          engineering; however, these works will be acquired only to the
          extent that they are useful to the layman;

       L.   The work is obscene or pornographic as defined by community
            standards of good taste and morality. Works which present an
            honest picture of some problem of aspect of life, however, will not
            be excluded because of coarse language or frankness;
            furthermore, all materials will be judged as a whole rather than on
            isolated passages;

       M. The material is ephemeral in nature or generates little demand;

       N. The work is available elsewhere, inappropriate in size, or too
          costly;

       O. The title is a textbook and holds no interest for the general public;

       P.   The title is available only in non-standard library formats;

       Q. The work is out of date;

       R. The work adds nothing new to a field already well covered in other
          works.

11. All library materials including gifts and other unsolicited materials will be
    evaluated according to this policy. Any items not added to the collection
    will be given to the Friends of the Library for inclusion in their annual book
    sale or sale room.

12. In essence, each item considered for selection must be evaluated on its
    own merits. There is no single standard which can be applied. Some
    materials must be judged primarily in terms of their contribution to the
    continuing exploration of new ideas; their contribution to the continuing
    exploration of form in literature, art, and other artistic endeavors; or their
    value to humanity through the exploration of cultural or other differences.
    Other materials are selected to fulfill the informational, educational, and
    recreational needs of the community. Present and potential relevance of
    a work to the community should be considered, as well as its importance
    as a document of the times.

13. Discarding or weeding of materials is the best and most economical
    utilization of space in the Library. Weeding is selection in reverse. Just as



                                                                         WEBB 00003
all materials which are added to the Library’s collections are expected to
be useful for the people in the community which is served by the Library,
so they should be withdrawn if they cease to serve that purpose. It
enhances the reputation for reliability of the collection and assures the
orderly growth of a quality collection. Guidelines for weeding are as
follows:

   A. Physically damaged works or worn out works will be candidates
      for weeding;

   B. Titles containing obsolete information will be candidates for
      de-selection;

   C. Duplicate titles which have waned in popularity may be eliminated;

   D. Titles which have not circulated for several years will be
      considered for withdrawal.




                                                              WEBB 00004
                       ‭RECONSIDERATION OF MATERIALS POLICY‬

 ‭ his‬ ‭policy‬ ‭applies‬ ‭to‬ ‭materials‬ ‭owned‬ ‭by‬ ‭the‬ ‭Garland‬ ‭County‬ ‭Library‬ ‭(GCL).‬
 T
 ‭GCL‬ ‭recognizes‬ ‭the‬ ‭principles‬ ‭of‬ ‭free‬ ‭library‬ ‭services‬ ‭and‬ ‭free‬ ‭inquiry‬ ‭as‬
   ‭fundamental‬ ‭concepts‬ ‭of‬ ‭the‬ ‭democratic‬ ‭heritage‬ ‭of‬ ‭the‬ ‭United‬ ‭States‬ ‭of‬
    ‭America.‬‭The‬‭latter‬‭principle‬‭requires‬‭the‬‭library‬‭to‬‭offer‬‭different,‬‭and‬‭sometimes‬
‭widely‬‭divergent,‬‭points‬‭of‬‭view‬‭in‬‭many‬‭areas‬‭of‬‭knowledge.‬‭The‬‭library‬‭does‬‭not‬
  ‭approve or endorse any particular viewpoint or belief represented in its collection.‬

    ‭ he‬ ‭library‬ ‭considers‬ ‭reading,‬ ‭listening,‬ ‭and‬ ‭viewing‬ ‭to‬ ‭be‬ ‭individual,‬ ‭private‬
    T
       ‭matters.‬ ‭The‬ ‭library‬ ‭believes‬ ‭that‬ ‭full,‬ ‭confidential,‬ ‭and‬ ‭unrestricted‬ ‭access‬ ‭to‬
        ‭information‬ ‭is‬ ‭essential‬ ‭for‬ ‭citizens‬ ‭to‬ ‭exercise‬ ‭their‬ ‭constitutional‬ ‭rights.‬ ‭While‬
         ‭anyone‬ ‭is‬ ‭free‬ ‭to‬ ‭select‬ ‭or‬ ‭reject‬ ‭materials‬ ‭for‬ ‭themselves‬ ‭or‬ ‭their‬ ‭own‬ ‭minor‬
          ‭child(ren),‬ ‭the‬ ‭freedom‬ ‭of‬ ‭others‬ ‭to‬ ‭read‬ ‭or‬ ‭inquire‬ ‭will‬ ‭not‬ ‭be‬ ‭restricted.‬ ‭Only‬
  ‭parents‬ ‭and‬ ‭guardians‬ ‭have‬ ‭the‬ ‭right‬ ‭and‬ ‭responsibility‬ ‭to‬ ‭guide‬ ‭and‬ ‭direct‬ ‭the‬
    ‭reading,‬ ‭listening,‬ ‭and‬ ‭viewing‬ ‭choices‬ ‭of‬ ‭their‬ ‭own‬ ‭minor‬ ‭child(ren).‬ ‭GCL‬
     ‭believes‬ ‭that‬ ‭education‬ ‭is‬ ‭best‬ ‭provided‬ ‭and‬ ‭controlled‬ ‭at‬ ‭the‬ ‭local‬ ‭level‬ ‭with‬
      ‭families‬ ‭having‬ ‭the‬ ‭freedom‬ ‭and‬ ‭responsibility‬ ‭to‬ ‭choose‬ ‭their‬ ‭best‬ ‭options.‬
‭Well-informed‬ ‭citizens‬ ‭are‬ ‭required‬ ‭for‬ ‭the‬ ‭nation‬ ‭to‬ ‭continue‬‭as‬‭a‬‭republic‬‭with‬
 ‭individual‬‭freedom‬‭and‬‭effective‬‭government.‬‭The‬‭library‬‭does‬‭not‬‭stand‬‭in‬‭place‬
   ‭of parents (in loco parentis).‬

         ‭ he‬‭library‬‭considers‬‭all‬‭materials‬‭in‬‭its‬‭collections‬‭to‬‭be‬‭constitutionally‬‭protected‬
         T
        ‭under‬ ‭the‬ ‭First‬ ‭Amendment‬ ‭of‬ ‭the‬ ‭United‬ ‭States‬ ‭Constitution‬‭and‬‭the‬‭Arkansas‬
 ‭State‬‭Constitution‬‭unless‬‭ruled‬‭otherwise‬‭in‬‭a‬‭court‬‭of‬‭law.‬‭The‬‭library’s‬‭role‬‭is‬‭to‬
  ‭provide‬ ‭materials‬ ‭that‬ ‭will‬ ‭allow‬ ‭individuals‬ ‭to‬ ‭freely‬ ‭examine‬ ‭issues‬ ‭and‬ ‭make‬
   ‭their‬ ‭own‬‭decisions.‬‭In‬‭this‬‭connection,‬‭the‬‭library‬‭endorses‬‭and‬‭incorporates‬‭by‬
    ‭reference‬ ‭herein‬ ‭the‬ ‭“‭L    ‬ ibrary‬ ‭Bill‬ ‭of‬ ‭Rights‬‭”‬ ‭and‬ ‭the‬ ‭“‭F
                                                                                        ‬ reedom‬ ‭to‬ ‭Read‬‭”‬ ‭and‬
‭“‭F      ‬ reedom‬ ‭to‬ ‭View‬‭”‬ ‭statements‬ ‭adopted‬ ‭by‬ ‭the‬ ‭American‬ ‭Library‬ ‭Association.‬
       ‭Library‬‭materials‬‭will‬‭not‬‭be‬‭marked‬‭or‬‭identified‬‭to‬‭show‬‭approval‬‭or‬‭disapproval‬
      ‭of‬ ‭the‬ ‭contents,‬ ‭nor‬ ‭will‬ ‭items‬ ‭be‬ ‭sequestered,‬ ‭except‬ ‭for‬ ‭the‬ ‭purpose‬ ‭of‬
     ‭protecting them from theft or damage or required by law.‬

   I‭ndividuals‬ ‭may‬ ‭raise‬‭concerns‬‭about‬‭library‬‭material‬‭that‬‭does‬‭not‬‭support‬‭their‬
      ‭tastes‬ ‭and‬ ‭views.‬ ‭Staff‬ ‭is‬ ‭available‬ ‭to‬ ‭discuss‬ ‭concerns‬ ‭and‬ ‭identify‬ ‭alternate‬
        ‭material‬ ‭that‬ ‭may‬ ‭be‬ ‭available.‬ ‭Customer‬ ‭concerns‬ ‭will‬ ‭be‬ ‭dealt‬ ‭with‬ ‭promptly‬
 ‭and‬‭courteously.‬‭Because‬‭of‬‭the‬‭rich‬‭diversity‬‭of‬‭human‬‭experience‬‭and‬‭opinion,‬
     ‭it‬ ‭is‬ ‭inevitable‬‭that‬‭some‬‭materials‬‭in‬‭the‬‭library’s‬‭collection‬‭will‬‭be‬‭objectionable‬
‭to‬‭some‬‭people‬‭in‬‭the‬‭community.‬‭The‬‭library‬‭in‬‭a‬‭very‬‭real‬‭sense‬‭belongs‬‭to‬‭the‬
    ‭whole‬ ‭community‬ ‭–‬ ‭the‬ ‭minority‬ ‭as‬ ‭well‬ a        ‭ s‬ ‭the‬ ‭majority.‬ ‭The‬ ‭library‬ ‭has‬ ‭a‬
  ‭responsibility‬‭to‬‭serve‬‭the‬‭community‬‭in‬‭all‬‭its‬‭variety.‬ ‭That‬‭responsibility‬‭includes‬
       ‭providing‬ ‭for‬ ‭the‬ ‭needs‬ ‭and‬ ‭interests‬ ‭that‬ ‭may‬ ‭offend‬ ‭a‬ ‭few‬ ‭or‬ ‭even‬ ‭a‬ ‭great‬
          ‭number‬ ‭of‬ ‭people.‬ ‭The‬ ‭function‬ ‭of‬ ‭the‬‭public‬‭library‬‭is‬‭to‬‭provide‬‭materials‬‭from‬
         ‭which people can make choices, not to make choices for people.‬



                                                                                                     WEBB 00006
                 ‭RECONSIDERATION OF MATERIALS PROCEDURE‬

 ‭ ‬ ‭person‬ ‭with‬ ‭a‬ ‭valid‬ ‭GCL‬‭borrower’s‬‭card‬‭and‬‭is‬‭a‬‭resident‬‭of‬‭Garland‬‭County‬
 A
‭may‬ ‭assert‬ ‭they‬ ‭are‬ ‭adversely‬ ‭affected‬ ‭by‬ ‭a‬ ‭book‬ ‭or‬ ‭other‬ ‭physical‬ ‭item‬ ‭and‬
 ‭therefore may seek to have such item relocated in the library.‬

    ‭1. ‭Before‬ ‭a‬ ‭person‬ ‭can‬ ‭file‬ ‭a‬ ‭challenge,‬‭the‬‭person‬‭shall‬‭request‬‭a‬‭meeting
           ‭with‬‭the‬‭County‬‭Librarian.‬‭Before‬‭the‬‭meeting‬‭occurs,‬‭GCL‬‭shall‬‭provide‬‭a
          c‭ opy‬‭of‬‭the‬‭Reconsideration‬‭of‬‭Materials‬‭Policy‬‭and‬‭Form‬‭or‬‭other‬‭method
        ‭by‬ ‭which‬ ‭a‬ ‭person‬ ‭may‬ ‭request‬‭a‬‭reconsideration‬‭of‬‭the‬‭appropriateness
         ‭of the material being challenged.

    ‭2. ‭At‬ ‭the‬ ‭conclusion‬ ‭of‬ ‭this‬ ‭meeting,‬ ‭if‬ ‭the‬ ‭patron‬ ‭still‬ ‭objects‬ ‭to‬ ‭the
         ‭classification‬‭or‬‭inclusion‬‭of‬‭a‬‭work,‬‭the‬‭patron‬‭may‬‭make‬‭a‬‭formal,‬‭written
          ‭request using the Form.

    ‭3. ‭For‬ ‭the‬ ‭request‬ ‭to‬ ‭be‬ ‭considered,‬ ‭the‬ ‭Form‬ ‭must‬ ‭be‬ ‭completed‬ ‭in‬ ‭full
        ‭including‬ ‭signature‬ ‭and‬‭submitted‬‭to‬‭the‬‭Executive‬‭Director‬‭within‬‭five‬‭(5)
         ‭working‬ ‭days‬ ‭of‬ ‭the‬ ‭meeting.‬ ‭Only‬ ‭specific‬ ‭works‬ ‭or‬ ‭titles‬ ‭will‬ ‭be
          ‭considered‬ ‭for‬ ‭reconsideration;‬ ‭requests‬ ‭for‬ ‭reconsideration‬ ‭of‬ ‭general
           ‭topics or subject areas will not be considered.

    ‭4. ‭The‬ ‭material‬ ‭under‬ ‭consideration‬ ‭will‬ ‭remain‬ ‭in‬ ‭the‬ ‭library’s‬ ‭collection
        ‭pending‬‭the‬‭outcome‬‭of‬‭the‬‭patron’s‬‭request.‬‭In‬‭the‬‭event‬‭that‬‭the‬‭material
         ‭under‬ ‭consideration‬ ‭is‬ ‭lost‬ ‭during‬ ‭the‬ ‭evaluation‬ ‭process,‬ ‭replacement
          ‭materials will be purchased until a final determination has been made.

    ‭5. ‭Upon‬ ‭receipt‬ ‭of‬ ‭a‬‭completed‬‭Form,‬‭the‬‭Executive‬‭Director‬‭will‬‭establish‬‭if
           ‭the‬ ‭request‬ ‭Form‬ ‭is‬ ‭proper,‬ ‭applies‬ ‭to‬ ‭the‬ ‭material‬ ‭in‬ ‭question,‬ ‭and‬ ‭is
         ‭complete.‬ ‭If‬ ‭so,‬ ‭the‬ ‭Executive‬ ‭Director‬ ‭will‬ ‭appoint‬ ‭an‬ ‭ad‬ ‭hoc‬‭committee
          ‭from‬ ‭the‬ ‭professional‬ ‭staff.‬ ‭Committee‬ ‭members‬ ‭shall‬ ‭have‬ ‭knowledge
            ‭appropriate‬ ‭for‬ ‭the‬ ‭material‬ ‭being‬ ‭challenged‬ ‭and‬ ‭be‬ ‭representative‬ ‭of
             ‭diverse viewpoints.

    ‭6. ‭Based‬‭on‬‭all‬‭applicable‬‭library‬‭policies‬‭and‬‭procedures,‬‭the‬‭committee‬‭will
          ‭evaluate‬‭the‬‭material.‬‭Material‬‭will‬‭be‬‭reviewed‬‭in‬‭its‬‭entirety‬‭and‬‭shall‬‭not
           ‭have‬‭selected‬‭portions‬‭taken‬‭out‬‭of‬‭context.‬‭The‬‭challenged‬‭material‬‭shall
            ‭not‬ ‭be‬ ‭withdrawn‬ ‭solely‬ ‭for‬ ‭viewpoints‬ ‭expressed‬‭within‬‭the‬‭material‬‭and
         ‭must‬ ‭be‬ ‭reviewed‬ ‭pursuant‬‭United‬‭States‬‭Supreme‬‭Court‬‭tests‬‭regarding
        ‭alleged obscene materials.

    ‭7. ‭The‬ ‭objecting‬ ‭patron‬ ‭shall‬ ‭present‬ ‭their‬ ‭request‬ ‭in-person‬ ‭to‬ ‭the
         ‭Committee during the Committee’s regularly scheduled meeting.

    ‭8. ‭The‬ ‭Committee‬ ‭shall‬ ‭meet‬ ‭to‬ ‭discuss‬‭the‬‭material‬‭being‬‭challenged.‬‭The
         ‭Committee‬ ‭shall‬ ‭vote‬ ‭to‬ ‭determine‬ ‭if‬ ‭the‬ ‭material‬ ‭being‬ ‭challenged‬ ‭shall
          ‭be‬ ‭relocated‬ ‭within‬ ‭the‬ ‭library’s‬‭collection,‬‭replaced‬‭with‬‭another‬‭work,‬‭or‬
                                                                                           WEBB 00007
          r‭ emoved‬ ‭from‬ ‭GCL’s‬ ‭collections.‬ ‭A‬ ‭member‬ ‭of‬ ‭the‬ ‭committee‬ ‭who‬‭voted‬
       ‭with‬ ‭the‬ ‭majority‬ ‭shall‬ ‭write‬ ‭a‬ ‭summary‬ ‭of‬ ‭the‬ ‭reasons‬ ‭for‬ ‭the‬ ‭majority’s‬
        ‭decision‬ ‭and‬ ‭shall‬ ‭send‬‭their‬‭decision‬‭by‬‭certified‬‭mail‬‭to‬‭the‬‭person‬‭who‬
         ‭submitted the request.‬

   ‭9. ‭The‬ ‭Executive‬ ‭Director‬ ‭will‬ ‭inform‬ ‭the‬ ‭Library‬ ‭Board‬ ‭of‬ ‭all‬ ‭requests‬ ‭for
        ‭reconsideration of library materials and their disposition.

   ‭10.‬‭If‬‭not‬‭satisfied‬‭with‬‭the‬‭committee’s‬‭decision,‬‭the‬‭patron‬‭may‬‭file‬‭an‬‭appeal
        ‭with‬ ‭the‬ ‭Garland‬ ‭County‬ ‭Library‬ ‭Board‬ ‭of‬ ‭Trustees.‬ ‭To‬ ‭appeal,‬ ‭the
         ‭challenging‬ ‭patron‬ ‭must‬ ‭deliver‬ ‭and‬ ‭present‬ ‭for‬ ‭filing‬ ‭a‬ ‭written‬ ‭appeal‬‭to
          ‭the‬‭Garland‬‭County‬‭Library‬‭Board‬‭Chair‬‭within‬‭five‬‭(5)‬‭working‬‭days‬‭of‬‭the
           ‭receipt of the Review Committee’s decision.

   ‭11. ‭In‬‭the‬‭event‬‭of‬‭an‬‭appeal,‬‭the‬‭Garland‬‭County‬‭Library‬‭Board‬‭Chair‬‭will‬‭be
          ‭given‬ ‭a‬ ‭copy‬ ‭of‬ ‭the‬ ‭patron’s‬ ‭completed‬ ‭Form‬ ‭and‬ ‭a‬ ‭summary‬ ‭of‬ ‭the
         ‭committee’s decision within fifteen (15) days of the committee’s decision.

   ‭12.‬‭The‬ ‭Garland‬‭County‬‭Library‬‭Board‬‭of‬‭Trustees‬‭will‬‭review‬‭the‬‭information
        ‭submitted‬ ‭to‬ ‭them‬ ‭and‬ ‭shall‬ ‭make‬ ‭a‬ ‭decision‬ ‭on‬ ‭the‬ ‭appeal‬ ‭within‬ ‭thirty
         ‭(30) days of receiving the information.

‭The decision of the Garland County Library Board of Trustees is final.‬




                                                                                          WEBB 00008
DATE: 26 September 2022
TO: XXXXXXXXXXXXXX
FROM: Adam Webb
RE: LGBTQ materials labeling request


Dear XXXXXXXXXXXXXX,

My apologies for the delay. We have received your emails and reviewed your request to label all
materials with LGBTQ characters or themes in the children’s department. I wanted to make sure
that we discussed and reviewed this issue thoroughly before we responded. After reviewing and
researching the matter, the Garland County Library is unable to fulfill your request. I know that
isn’t what you wanted to hear, but as a governmental agency, we have to consider all citizens
and how our actions might affect them.

Federal Courts have ruled that government actions that stigmatize certain people is a form of
discrimination and that actions such as those suggested are unconstitutional. The Garland
County Personnel Handbook explicitly disallows library staff from engaging in unconstitutional
practices and we would risk losing our jobs over it. To quote Supreme Court Justice Robert
Jackson, "If there is any fixed star in our constitutional constellation, it is that no official, high or
petty, can prescribe what shall be orthodox in politics, nationalism, religion, or other matters of
opinion." While that specific case was in regards to compelled speech, the standard of not
prescribing “what shall be orthodox” is one the courts have made a number of times regarding
libraries. Labeling LGBTQ materials as a means to help others avoid certain viewpoints would
certainly be prescribing what is orthodox. This amounts to what the courts have called a
“stigmatizing effect” and we are prohibited from engaging in that practice.

We also reviewed your request from a collection development and librarianship standpoint. As a
practical matter, it would require a page-by-page and scene-by-scene review of everything in
the children's library to ensure compliance. It would also require library staff to make judgment
calls that may or may not align with what you have in mind. What one person considers “sexual
by nature” might not be by someone else. This would open the door for all sorts of labeling
based on one opinion over another. If we did this for you, there is nothing to stop someone from
requesting any other subjective labeling, as we would have to treat all requests equally.

Ultimately, the courts have determined that the onus is on the individual to screen materials they
wish to avoid, not the other way around. In the US District Court case Sund v City of Wichita
Falls, Justice Buchmeyer stated "those seeking to restrict access to information should be
forced to take affirmative steps to shield themselves from unwanted materials; the onus should
not be on the general public to overcome barriers to their access to fully-protected information."
I know this doesn't seem like a restriction, but the courts have ruled otherwise. As a civil
servant, I am compelled to do what the courts have determined is constitutional in my line of
work. “Shall not prescribe” is mandatory language, not a suggestion.




                                                                                       WEBB 00034
Regarding your question about the book Angryman, I am unaware of how that labeling was
placed on the item and I asked my staff to remove it. We do not have a policy of labeling items
on a case-by-case basis and it is not a practice my staff should be doing outside of our board
approved policies.

I know my response is not what you want to hear, but I'm happy to talk with you or any other
interested parties about possible solutions or compromises. We want everyone to feel welcome
in the library, but in doing so, we must create an atmosphere where everyone feels welcomed.

Yours in service,
--
Adam Webb | MLS
Library Director




                                                                              WEBB 00035
